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                     Exhibit 5
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                                                                             Aquarium See       Filed
                                                                                          Partnering     06/22/22
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                                                 Products           Recipes      We Are Gorton’s            Responsibility              Where to buy




                              The Latest and Greatest
                                                                      Gorton’s in the press
                                                                                 Press Inquiries


                                                        All                      In the News                   Press Releases



                                                                 2013-10-14
                                                                 Gorton’s, Aquarium See Partnering Gains
                                                                 Gloucester Times reports on Gorton’s successful 5-year
                                                                 collaboration with the New England Aquarium on seafood
                                                                 sustainability and responsible fishing practices.



https://www.gortons.com/gortons-aquarium-see-partnering-gains/                                                                                         1/2
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                                                                 Products                   Seafood Recipes      Company                Connect
                                                                 Delicious Classics         Time Saving          We Are Gorton’s        Find your Favorites
                                                                 Smart Solutions            Foodie Approved      Careers                Contact Us
                                                                 Everyday Gourmet           Kid Friendly         Special Offers
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                                                                                       Appetizers




https://www.gortons.com/gortons-aquarium-see-partnering-gains/                                                                                                2/2
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https://www.gloucestertimes.com/news/local_news/gortons-aquarium-see-partnering-gains/article_eaf15944-b511-5d7b-aed2-885b85f5af66.html


                                                  Gorton's, Aquarium see partnering gains
                                                                         By Sean Horgan
                                                                           Staff Writer
                                                                          Oct 10, 2013




Five years in, both Gorton’s and the New England Aquarium consider their partnership on seafood
sustainability a success.


Gloucester-based Gorton’s, operating with an emphasis on assuring the sustainability of the fish
stocks that comprise their products, has greatly benefited from the partnership, according to Lisa
Webb, Gorton’s vice president of supply chain.


“We’ve gotten great results over the past five years,” Webb said. “We want to be one of the leaders in
our industry.”


Gorton’s, according to Webb, relies heavily on the scientific expertise of the aquarium’s sustainable
seafood program to analyze the global fish supplies that Gorton’s utilizes for its retail business, with
an eye toward promoting sustainability.


Those stocks include Alaska pollock, salmon, tilapia, shrimp, haddock, sole and cod. There is a
particular interest in the sustainability of whitefish because of its importance in Gorton’s iconic fish
sticks and other offerings.


Also, in 2010, the partners sent representatives to Asia to study the farmed tilapia fish supply and
later made recommendations to the suppliers to reduce the wild fish component in the food source
for the tilapia to promote a more sustainable balance.


“There’s always going to be a lot of ups and downs with fish stocks, and that’s where the New
England Aquarium is giving us a lot of guidance and support to make sure we’re making
improvements in fishing practices and policies across all sustainability when it comes to the fisheries
we’re involved in,” Webb said.


The two partners celebrated the fifth anniversary of their collaboration on Wednesday at the Boston-
based aquarium with a food tasting of the company’s sustainable seafood choices.


“Part of our mission is to protect the blue planet,” said Tania Taranovski, manager of the aquarium’s
sustainable seafood program. “Working with businesses like Gorton’s has been really wonderful.
They have, through the decisions they make on what to buy and sell, an important role to play in
this.”


Webb said Gorton’s sustainability effort seems to have resonated with its customers, partly through
its Trusted Catch program that seeks to inform consumers about sustainability issues.


“It really encompasses all our sustainability and quality initiatives, from not only how we sort the
seafood we buy but also our supply chain and manufacturing processes,” Webb said. “We think it’s
starting to have an impact on our consumers.”


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